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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION


____________________________________
IN RE:                               §            Chapter 11
                                     §
IHEARTMEDIA INC., ET AL.,            §            Case No. 18-31274
                                     §
                                     §
      Debtors.                       §            (Jointly Administered)
____________________________________ §


     TAXING AUTHORITIES’ NOTICE OF WITHDRAWAL OF OBJECTION TO
      DEBTORS’ EMERGENCY MOTION FOR INTERIM AND FINAL ORDERS
  AUTHORIZING (I) POSTPETITION USE OF CASH COLLATERAL, (II) GRANTING
 ADEQUATE PROTECTION TO PREPETITION LENDERS PURSUANT TO 11 U.S.C. §§
    105, 361, 362, 363, AND 507, BANKRUPTCY RULES 2002, 4001, AND 9014, AND
   BANKRUPTCY LOCAL RULES 4001-1(b) AND 4002-1, AND (III) SCHEDULING A
           FINAL HEARING PURSUANT TO BANKRUPTCY RULE 4001(B))



       YOU ARE HEREBY NOTIFIED that Angelina County, Bexar County, Cameron County,

Cleveland ISD, Cypress-Fairbanks ISD, Dallas County, City of El Paso, Fort Bend County, Frio

Hospital District, Harris County, Hays County, Hidalgo County, Houston Liens, Irving ISD,

Jefferson County, Lewisville ISD, City of McAllen, McLennan County, Nueces County, Pearsall

ISD , Rockwall CAD, San Marcos CISD, San Patricio County, Smith County, Tarrant County, Tom

Green CAD, and Victoria County’s (the “Taxing Authorities”) objection to Debtors’ Emergency

Motion for Interim and Final Orders Authorizing (A) Postpetition Use of Cash Collateral, (B)

Granting Adequate Protection to Prepetition Lenders Pursuant to 11 U.S.C. §§ 105, 361, 362, 363,

and 507, Bankruptcy Rules 2002, 4001, and 9014, and Bankruptcy Local Rules 4001(b) and 4002-1,

and (III) Scheduling a Final Hearing Pursuant to Bankruptcy Rule 4001(b) is WITHDRAWN.
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Dated: April 11, 2018

                            Respectfully submitted,

                            LINEBARGER GOGGAN
                            BLAIR & SAMPSON, LLP


                            /s/ John P. Dillman
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                            Counsel for the Taxing Authorities
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                                   CERTIFICATE OF SERVICE

       The undersigned does hereby certify that a true and correct copy of the foregoing was served
upon the following entities by either electronic court filing or by United States Mail, first class,
postage prepaid on April 11, 2018:


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                                                    /s/ Tara L. Grundemeier
                                                    Tara L. Grundemeier
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